USCA4 Case
      Appeal: 22-1550   Doc: 1
           1:21-cv-00001-JPJ-PMS   Filed: 05/17/2022
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                                            65 Filed 05/17/22   1    1 of 1 Pageid#: 2099


                                                                      FILED: May 17, 2022

                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT

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                                            No. 22-1550
                                     (1:21-cv-00001-JPJ-PMS)
                                      ___________________

         MARY YOLANDA TRIGIANI

                      Plaintiff - Appellant

         v.

         NEW PEOPLES BANK, INC.

                      Defendant - Appellee


        This case has been opened on appeal.

         Originating Court                        United States District Court for the
                                                  Western District of Virginia at
                                                  Abingdon
         Originating Case Number                  1:21-cv-00001-JPJ-PMS
         Date notice of appeal filed in           05/16/2022
         originating court:
         Appellant(s)                             Mary Yolanda Trigiani
         Appellate Case Number                    22-1550
         Case Manager                             Taylor Barton
                                                  804-916-2702
